Case 1:09-cV-00597-LI\/|B-TCB Document 193 Filed 09/15/10 Page 1 of 2 Page|D# 2701

 

UNiTED,sTATEs Dls'i‘RicTcoURT n L__.§ H\t,
l ' i:

EASTERN DISTRICT OF VIRGINIA

 

Intersections, Inc., et al.

 

Plaintiff`,
v. Case No. 1:09cv597 (LMB/TCB)
Joseph C. I.oomis, et al.,

Def`endant.

 

 

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Came this day the parties, Plaintiffs lntersections, Inc. and Net Enforcers, Inc. and
Defendant Joseph C. Loomis, by their respective counscl, and jointly moved the Court to
continue the hearing on the Motion I`or Reconsideration of the Court’s September 3, 2010, Ordcr
Disqualifying Emil W. Herich and Kcats, McFarland & Wilson LLP as Counsel of Record (the
“Order”) filed by Det`endant Joseph C. I,oomis from September 17, 2010 to a date certain.
Whercas the parties have agreed to the entry oi` this consent order, as evidenced by their
signatures hereto, and whereas the Court finds that there is good cause to grant this consent
motion, it is hereby

ORDERED that the hearing on the Motion for Reconsideration Of` Order Disqualii`ying

Emil W. Hcrich and Keats, McFarland & Wilson LLP is continued to September 24, 2010.

ENTERED this ljm ""day of September, 2010.

1 Fs?

Theresa Carroli Buchananud`

° ' WWWM?N¢\ te.i ge
United States Magistrate Ju ge

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Alexandria, Virginia.

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WE ASK FOR 'I`HIS:

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